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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                   Protective Order

                 v.                                                         20 Cr. 634 (SHS)

 EMMANUEL BARRIENTOS,

                                    Defendant.



       Upon the application of the United States of America, with the consent of the undersigned

counsel, the Court hereby finds and orders as follows:

           WHEREAS, the Government intends to disclose to the defendant documents, objects,

and information, including electronically stored information (“ESI”), pursuant to Federal Rule of

Criminal Procedure 16, 18 U.S.C. § 3500, and the Government’s general obligation to produce

exculpatory and impeachment material in criminal cases, all of which will be referred to herein as

“Disclosure Material”;

       WHEREAS, the Government’s Disclosure Material may include sensitive information

(“Sensitive Information”) that (i) affects the privacy or confidentiality of individuals, including a

minor victim of the charged offenses; (ii) is not authorized to be disclosed to the public or disclosed

beyond that which is necessary for the defense of this criminal case; or (iii) the broad disclosure

of which would pose safety risks to individuals; and

       WHEREAS, the entry of a protective order in this case will permit the Government

expeditiously to produce Disclosure Material without further litigation or the need for substantial

redactions, and will afford the defense prompt access to such materials, in substantially unredacted

form, which will facilitate the preparation of the defense;
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NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

       1. Disclosure Material shall not be disclosed by the defendant or defense counsel, including

any successor counsel (“the defense”) other than as set forth herein, and shall be used by the

defense solely for purposes of defending this action. The defense shall not post any Disclosure

Material on any Internet site or network site to which persons other than the parties hereto have

access, and shall not disclose any Disclosure Material to the media or any third party except as set

forth below.

       2. Disclosure Material may be disclosed by counsel to:

           (a) Personnel for whose conduct counsel is responsible, i.e., personnel employed by or

retained by counsel, as needed for purposes of defending this action;

           (b) Prospective witnesses for purposes of defending this action; and

           (c) The defendant.

       3. The Government may authorize, in writing, disclosure of Disclosure Material beyond

that otherwise permitted by this Order without further Order of this Court.

       4. Sensitive Information so designated by the Government, including any copies thereof or

excerpts therefrom, may be disclosed by defense counsel to the defendant for review at the offices

of defense counsel, or in the presence of defense counsel, for purposes related to this case.

Notwithstanding the foregoing, the defendant shall not maintain, retain, or keep copies or notes of

Sensitive Information outside of the presence of defense counsel. All Sensitive Information

possessed by defense counsel shall be maintained in a safe and secure manner.




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        5. This Order does not prevent the disclosure of any Disclosure Material in any hearing

or trial held in this action, or to any judge or magistrate judge, for purposes of this action. All

filings should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1.

        6. Except for Disclosure Material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all Disclosure Material,

including the seized ESI Disclosure Material, within 30 days of the expiration of the period for

direct appeal from any verdict in the above-captioned case; the period of direct appeal from any

order dismissing any of the charges in the above-captioned case; or the granting of any motion

made on behalf of the Government dismissing any charges in the above-captioned case, whichever

date is later.

        7. The defense shall provide a copy of this Order to prospective witnesses and persons

retained by counsel to whom the defense has disclosed Disclosure Material. All such persons shall

be subject to the terms of this Order. Defense counsel shall maintain a record of what Disclosure

Material has been disclosed to which such persons.

        8. This Order places no restriction on a defendant’s use or disclosure of ESI that originally

belonged to the defendant.

                                     Retention of Jurisdiction
        9. The provisions of this order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.




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AGREED AND CONSENTED TO:

   AUDREY STRAUSS
   Acting United States Attorney


    /s/ David J. Robles
   _____________________________                   12/30/2020
                                            Date: _____________________
   David J. Robles
   Assistant United States Attorney


    /s/ Jon Silveri - DJR
   ___________________________                     12/30/2020
                                            Date: _____________________
   Jon Silveri
   Counsel for Emmanuel Barrientos




SO ORDERED:

Dated: New York, New York
December 30, 2020

                                            _________________________________
                                            THE HON. SIDNEY H. STEIN
                                            UNITED STATES DISTRICT JUDGE




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